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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


 MOTOROLA SOLUTIONS, INC., and                   )
 MOTOROLA SOLUTIONS MALAYSIA                     )
 SDN. BHD.                                       )   Civil Action No.: 1:17-cv-01973
                                                 )
                 Plaintiffs,                     )
                                                 )   Honorable Charles R. Norgle Sr.
         v.                                      )
                                                 )
 HYTERA COMMUNICATIONS                           )
 CORPORATION LTD.,                               )
                                                 )
                                                 )
                 Defendant.                      )
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    MOTOROLA’S SUBMISSION REGARDING TERMS OF ONGOING ROYALTY

       Motorola provides the following support for its proposals that Hytera continues to dispute.

Motorola has tracked the numbering of the proposed license to facilitate the Court’s review.

       Motorola continues to object to the imposition of a Court-ordered royalty. As explained in

Motorola’s concurrent filing regarding the injunction, the Seventh Circuit recently dismissed

Hytera’s appeal No. 21-2635 for “lack of jurisdiction” due to ongoing proceedings before this

Court; (ii) in connection with the parties’ recent negotiations concerning the form of the royalty

ordered by the Court, Hytera stated it was not going to pay into escrow the currently-owed royalties

ordered by this Court (and indeed, Hytera now seeks reconsideration of the Court’s order on that

point, Dkt. 1314 at 2); and (iii) on February 7, the Department of Justice unsealed a criminal

indictment charging Hytera with conspiracy to commit theft. Under these circumstances, an

injunction is the only appropriate relief.
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         Nonetheless, Motorola complied with the Court’s order to submit a joint proposal regarding

the license. Adopting Hytera’s proposals in that submission, instead of Motorola’s, would cause

further harm to Motorola and leave it with little ability to protect the confidential information

Hytera stole and will not pay for. While Hytera attempts to defend its positions with recourse to

the parties’ DMR license, Hytera has refused to pay royalties under that license for years. And

while the Court’s order stated that certain aspects of this court-ordered license should “be

consistent” with the DMR license, that does not trump the requirements of the DTSA, as explained

below. Dkt. 1289 at 1. Indeed, Hytera’s recourse to the DMR license is only when it is convenient

for Hytera. As explained below, Hytera seeks to include provisions that will limit its need to

comply with the license based on some unspecified other law, which is not in any way part of the

DMR license. Accordingly, should a Court-ordered license be entered, Motorola respectfully

requests that its proposals, and not Hytera’s be adopted.1

1.    Definitions

         1.1    “Affiliate”

         The parties dispute whether “Affiliates,” and thus, licensed entities, should exclude

Hytera’s bankrupted entities or entities controlled by any government authority. These entities

should be excluded from the license. First, the license should not extend to the entities that Hytera

bankrupted so they could avoid paying the judgment in this case. Second, it would be inappropriate

to force Motorola to license its technology to any entity that is controlled by the Chinese

government (or any other government), which is a real risk with respect to entities in communist

countries with a history of governmental takeover.



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  In support of its positions, Hytera submitted a brief that is double the page limits in the Local
Rules. Should the Court consider that non-compliant submission, Motorola reserves the right to
respond to Hytera’s arguments, including its apparent (and untimely) request for reconsideration.



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       1.2     “Covered Products”

       The parties dispute whether “Covered Products” includes all of the products identified in

Motorola’s royalty submission. Specifically, Hytera seeks to limit its royalty obligations to the

radio and repeater models listed in Dkt. 1118-3. This is nothing more than an attempt to reargue

an issue the Court already decided against Hytera. Motorola specified that the “Accused Products”

were defined in Exhibit 4, Dkt. 1118-3, to its brief (see Dkt. 1118 at 11 (“Hytera’s first payment

under the license should include Accused Products (as defined in Ex. 4)”). The Court ordered

Hytera to pay a royalty on any product in that exhibit, stating that the “ongoing royalty applies to

the Hytera products that Motorola’ specifically identifies in its submission. See Dkt. 1118-3

(Motorola’s list of “Accused Products.”)).           Hytera’s attempt to eliminate software that

undisputedly uses Motorola’s trade secrets and copyrights, and its use of the trade secrets and

copyrights, from its royalty obligations should be rejected. Indeed, under Hytera’s interpretation,

it could simply relabel or renumber the very same radios that were adjudicated at trial, and it would

owe nothing. Hytera should not be permitted to continue flouting the Court’s orders. In addition,

Hytera’s H-Series products, which were recently released, should be included in this order. Hytera

has produced no evidence that those products do not use Motorola’s trade secrets and copyrights,

and there is no reason to believe it did. Indeed, Hytera repeatedly claimed at trial that it took

corrective action with respect to its rampant theft, yet its recent indictment reveals Hytera was

untruthful even about who it employed in an attempt to cover up its theft. See United States v.

Hytera Communications Corp., No. 20-cr-688 (N.D. Ill.), Indictment ¶ z.

       1.5     “Covered Equipment Transactions”

       The parties dispute whether the license should specify that Hytera’s manufacture and use

of, and sale of products made with, Motorola’s trade secrets and copyrights is not licensed or

permissible if it violates U.S. law.



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       Motorola’s proposal specifies that this license exists only so long as it complies with U.S.

law, and Hytera’s desire to have the license be silent on this issue must be rejected. To the extent

Hytera claims that its phrasing of the license as not being granted by “Motorola” in § 2.1 moots

the compliance of laws issue, that is incorrect. The use of passive voice does not change the fact

that Hytera and Motorola are the parties to this Court-ordered license, and Motorola should not be

required to continue permitting Hytera to use its trade secrets, or engage in business dealings with

Hytera, if doing so is in conflict with US laws. The U.S. government already considers Hytera to

pose a risk to U.S. national security, and the recent indictment charging Hytera with stealing

Motorola’s trade secrets likely aggravates that concern. These factors significantly increase the

risk of the U.S. government designating Hytera on a restricted party list, which could restrict or

prohibit Motorola’s performance under the license agreement because designation on a restricted

party list, as a matter of U.S. law, would prohibit or restrict U.S. persons such as Motorola from

continuing to participate in the Compulsory License. For example, if the U.S. government were

to designate Hytera, or an entity owning them 50% or greater, as a “Specially Designated

National,” Motorola would be prohibited from all transactions and dealings with

Hytera. Similarly, if Hytera were placed on the “Entity List,” Motorola would be prohibited from

providing it with U.S., goods, software, or technology. It should be clear that this Court-ordered

license is in effect only so long as it is compliant with U.S. law.

2. Scope of License

       2.1: License Terms

       The parties dispute whether (i) passive voice should be used in the license grant; (ii) the

trade secrets and copyrights should be defined as in Motorola’s Appendix A; and (iii) Hytera’s

license should be conditioned upon some unspecified payment (Hytera’s proposal) or actual

compliance with the payment provisions (Motorola’s proposal).



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       First, Hytera’s use of passive voice creates ambiguity surrounding whose rights are at issue

in the license, and it should be clear that Motorola is the entity whose trade secrets and copyrights

is subject to this agreement. To the extent Hytera argues that its use of passive voice avoids the

need for a “compliance with laws” provision, that argument fails as explained in § 1.5.

       Second, Motorola’s trade secrets and copyrights should be defined consistently with how

they have been defined in this case, which is what Motorola’s definitions in Appendix A do.

Hytera’s attempt to inject ambiguity into the license should be rejected.

       Third, under Hytera’s proposal allowing some “payment,” it could continue using

Motorola’s trade secrets and copyrights so long as it made a single payment under the license. This

is simply another attempt to circumvent the requirement under the DTSA, and the Court’s order,

that Hytera pay a royalty for its continuing use of Motorola’s trade secrets and copyrights.

Motorola’s proposal makes clear that Hytera’s ability to continue use Motorola’s trade secrets and

copyrights is conditioned on its full payment for that use.

       2.2: Limitation of License

       The parties dispute whether the trade secrets and copyrights should be defined as in

Motorola’s Appendix A. Motorola refers to its position in § 2.1, supra.

       2.3: No Immunity from Criminal Liability

       The parties dispute whether Hytera should be permitted to use this license to shield itself

from criminal liability.

       Although Motorola maintains that Hytera should be enjoined and that Hytera’s continued

use of Motorola’s trade secrets and copyrights has caused irreparable harm, Motorola understands

that it must comply with the Court’s order on the license. That, however, should in no way impact

Hytera’s criminal liability for this theft or be deemed to protect Hytera from criminal liability for

continuing to profit from its past criminal conduct. Hytera has been indicted by a grand jury for



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conspiracy to steal, possess and use Motorola’s trade secrets beginning not later than on or about

June 8, 2007 and continuing until at least on or about June 22, 2020, and for twenty counts of

illegally possessing Motorola’s trade secrets, including during the period covered by the

compulsory license. The indictment also includes a forfeiture allegation, requiring Hytera to

“forfeit to the United States … any property, real or personal, constituting or derived from, the

proceeds they obtained directly or indirectly as a result of the offenses in the Indictment; any

property traceable to such property …; and any property used, or intended to be used, … to

facilitate the commission of said violation; and any article, the making or trafficking of which is,

prohibited under 18 U.S.C. § 1832.” It should therefore be clear that Hytera’s continued use of

Motorola’s trade secrets is not with Motorola’s permission or agreement—or that of the Executive

Branch of the United States in which the Constitution vests the prosecutorial power—but only by

order of this Court, which may not exempt Hytera from its duty to comply with Title 18, limit the

Justice Department’s exercise of its prosecutorial responsibilities, or compel a crime victim to

waive its rights in favor of a criminal defendant.

3. Confidentiality Obligations

        3.1: Scope of Confidentiality Obligations

        The parties dispute whether Hytera’s affiliates are bound by the confidentiality obligations

of this license, or whether they are only bound if they execute a separate confidentiality agreement.

        If Hytera’s affiliates are licensed under this agreement, then they must be obligated to

comply with the Court’s order that Motorola’s trade secrets and copyrights remain confidential–

full stop. Hytera’s position, i.e., that the affiliates are only subject to the confidentiality obligations

if they sign a separate agreement, is contrary to the Court’s order and leaves Motorola’s trade

secrets and copyrights vulnerable to disclosure. Indeed, Hytera has made clear this is a serious

risk, because Hytera claims that these affiliates are not subject to this Court’s jurisdiction, which



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means Motorola would have to engage in a worldwide campaign to protect its trade secrets. That

is not an appropriate burden to impose on the party whose property was stolen. If Hytera’s

Affiliates will not keep Motorola’s trade secrets and copyrights confidential, they cannot possess

or use them.

        3.2: Actions in the Event of a Breach

        The parties dispute whether Hytera (i) must take “any action requested by Motorola” to

cure a breach of confidentiality, (ii) has to notify Motorola of a breach by its Affiliates; and (ii)

can limit its cure obligations to the extent permitted by applicable laws. First, Hytera seeks to

limit its obligations to take whatever it deems to be “reasonable actions” in the event Motorola’s

confidential information is disclosed. That is insufficient and will only lead to more disputes and

risk disclosure of Motorola’s confidential information. The trade secrets and copyrights are

Motorola’s property, which Hytera stole and that Motorola wants it to stop using and possessing.

Hytera does not now get to decide what actions it will or will not take to protect that information.

        Second, Hytera must be required to notify Motorola if its Affiliates disclose Motorola’s

trade secrets. Under Hytera’s proposal, Hytera is not required to notify Motorola of a breach by

its Affiliates, which is insufficient and puts Motorola’s confidential information at risk,

particularly given Hytera’s claims that its Affiliates are not subject to the jurisdiction of this Court.

        Third, Hytera’s attempt to avoid or limit its obligations to protect Motorola’s confidential

information with reference to some unspecified other laws should be rejected. If Hytera is

unwilling to abide by the laws of this country and the Court’s order to protect Motorola’s

confidential information, it should not be permitted to continue using Motorola’s confidential

information.

4. Royalties

        No disputes



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5. Payment and Reporting

       5.1: Payment for Past-due Royalty

       The parties dispute whether Hytera has to pay the full amount of the past-due royalty by a

date certain.

       As stated in Dkt. 1312, Hytera acknowledges that it owes significant past royalties from

July 1, 2019 to December 31, 2021. Hytera should therefore be required to promptly pay that

royalty for its continued unauthorized use of Motorola’s trade secrets and copyrighted works.

Hytera, however, wants the Court to condone its refusal to pay, and provide some unspecified

alternative for the royalty Hytera owes.       After being found to be a willful and malicious

misappropriator, Hytera got what it wanted: a royalty. Now, Hytera will not even agree to abide

by the relief it sought, providing further confirmation that Hytera has no intention of respecting

the verdict or this Court’s orders. Moreover, allowing Hytera not to pay the royalty it insisted on

would be contrary to the DTSA (which requires payment for continued use). Hytera must either

pay what it owes or stop profiting from its theft.

       In addition, Hytera should be required to report its sales consistent with Motorola’s

Appendix B. Although Hytera seeks a reporting schedule similar to the DMR license, Hytera has

not complied with, or paid royalties under, that license for years. Hytera also plainly intends to

use Chinese law to shield it from complying with the audit provisions (See Dkt. 1310 §6.2 ). As a

result, Hytera must be required to provide transparency into its sales in the required quarterly

reporting.

       5.4: Motorola Invoice

       The parties dispute whether Motorola is required to provide an invoice to Hytera prior to

Hytera’s payment of its court-ordered royalty.




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       Hytera’s proposal to require Motorola to submit an invoice is inconsistent with the DTSA,

which requires that Hytera actually pay a royalty for its continued use. Hytera is under court order

to pay these royalties, and including a requirement that Motorola submit an invoice, is simply

another way Hytera will seek to blame Motorola for its non-compliance with the license. Motorola

should not be further burdened by having to provide an invoice to trigger that payment.

       5.5: Go-forward Royalty Payments

       The parties dispute whether Motorola is required to provide an invoice to Hytera prior to

Hytera’s payment of its court-ordered royalty. See 5.4 for Motorola’s position.

       5.6.1: Transfer of Escrow Payments

       The parties dispute whether Hytera should automatically transfer escrow payments upon

entry of final judgment or whether a separate Court order must issue.

       The timing and circumstances of the transfer Hytera’s escrow payments to Motorola should

be specified in this order, which is what Motorola proposes. Hytera’s proposal would require

additional Court intervention, which is unnecessarily burdensome on the Court, and is yet another

attempt by Hytera to delay compensating Motorola for any of the harm it has caused through its

willful and malicious conduct.

       5.9: No Set Off

       The parties dispute whether Hytera should be allowed to force Motorola to waive its rights

as a victim of a crime Hytera perpetrated and to forego royalties Hytera owes on the parties’ DMR

license.

       As explained in Section 2.3, this court-ordered license should not shield Hytera from

criminal liability—yet that is exactly what Hytera seeks to do. Not only would doing so work a

perverse outcome, i.e., that a criminal could evade liability due to a court-ordered royalty that the




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crime victim is forced to provide, it would infringe upon the Executive Branch’s ability to

prosecute crimes.

         In addition, Hytera has paid no royalties under the parties’ DMR license for years, and it

should be clear that this agreement does not absolve Hytera from its obligations to pay those

royalties, which relate to different technology than Motorola’s trade secrets and copyrighted

works.

         5.10: DMR License Royalties

         The parties dispute whether Hytera is still obligated to pay royalties under the parties’

DMR license. See § 5.9, supra for Motorola’s position.

6. Records and Audit Rights

         6.1: Maintenance of Records

         The Parties dispute whether Hytera’s Affiliates are subject to the requirement that accurate

books and records be kept or whether they must execute a separate agreement on this issue.

         Hytera’s attempt to exclude its affiliates from the requirement that accurate records be

maintained and audited is improper. Many of Hytera’s sales occur through its affiliates, meaning

those are the entities whose records are critical to ensuring that Hytera is paying the appropriate

royalty amounts. There is no reason to include a separate agreement between Hytera and its

Affiliates in connection with this license. To the extent Hytera needs to impose other obligations

on its Affiliates so Hytera can comply with this provision, Hytera is free to do that. But adding

administrative complexity for entities Hytera asserts are not subject to this Court’s jurisdiction is

simply gives Hytera another dispute to raise when it fails to comply with the terms of this license.

         6.2: Audit Procedure




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       The parties dispute whether (i) Hytera should be prohibited from asserting any law or

regulation prohibits the required audits; and (ii) whether Hytera should be obligated to produce

books and records in the United States for an audit.

       First, Hytera should not be permitted to argue that some other law precludes its compliance

with this order, including the audit provision. Nonetheless, Hytera wants to include a with

Chinese-law exception here (there is no such carve-out in the DMR license) without identifying

any specific Chinese law that would prevent it from complying with the audit requirements. Hytera

committed trade secret misappropriation in violation of U.S. law, and it should not be permitted to

hide behind vague assertions about Chinese law to impede Motorola’s ability to obtain basic

information about Hytera’s sales of products that use Motorola’s trade secrets and copyrights.

       Second, given Hytera’s attempt to use Chinese law to shield it from providing basic

information about its sales of products that use Motorola’s trade secrets and copyrights, Hytera

should be required to provide audit information in the United States. Hytera should also agree that

it will not seek to use Chinese law to avoid compliance with the audit provisions.

7. Taxes

       No disputes

8. Term and Termination

       The parties dispute whether the license should terminate based on Hytera’s non-compliance

with the license or U.S. laws.

       The court-ordered license should also be clear about the circumstances that will result in

termination of the license without the need for Court intervention. Those circumstances include

Hytera’s failure to comply with its payment obligations (as required by the DTSA), the Court’s

order that it maintain Motorola’s trade secrets as confidential, and its failure to comply with the




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audit requirements. In addition, to the extent a Hytera Affiliate no longer qualifies as an Affiliate,

that entity should no longer be granted a license. Should Hytera obtain relief for a particular trade

secret or copyrighted work, the license will terminate with respect to that trade secret or

copyrighted work, but none of the others. Finally, as explained in Section 1.5, Motorola has

included economic sanctions provisions due to Hytera’s recent indictment and the fact that the

U.S. government considers Hytera to pose a risk to U.S. national security. This significantly

increases the risk of the U.S. government designating Hytera on a restricted party list, which could

restrict or prohibit Motorola’s performance under the license agreement.

9. Dispute Resolution

       9.2: Choice of Law and Jurisdiction

       The parties dispute whether Delaware law should govern the interpretation of the court-

ordered license and whether this Court retains jurisdiction over its enforcement.

       This Court should maintain jurisdiction over enforcement of this order, and the laws of

Delaware should govern the interpretation of this agreement. Hytera’s refusal to agree to this

provision is troubling, given its repeatedly rejected attempts to evade this Court’s jurisdiction,

which makes this provision all the more necessary. Delaware is a common international standard

to govern commercial contracts, and forecloses Hytera from arguing that this agreement is subject

to some other law and potentially argue that law allows Hytera to fail to comply with the license.

10. Representations and Warranties

       The parties dispute whether they should represent and warrant that they will comply with

the agreement.

       The representations and warranties that Motorola requests are typical license provisions

that attempt to ensure Hytera abides by its obligations under the license, which it has already

indicated it will not honor either by refusing to pay the royalty it owes or claiming Chinese law



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prevents it from doing so. Such provisions are appropriate for the extensive scope and value of

technology licensed under this Agreement. In addition, because Motorola’s technology is subject

to U.S. export control laws, both parties are obligated to handle it in accordance with such laws.

11. Change in Control

        The parties dispute whether the license should terminate in the event of a change in control

at Hytera.

        Motorola expects Hytera to be the recipient of the license and in particular does not believe

that an acquirer should get the benefit of Hytera’s misappropriation of Motorola’s trade secrets.

Hytera, by contrast, intends to authorize a third party—including another competitor of

Motorola’s—to have the ability to use Motorola’s trade secrets and copyrights. It should be clear

that Hytera’ use of Motorola’s trade secrets and copyrights ends in a change of control. Any other

outcome would permit Hytera to use Motorola’s trade secrets and copyrights as an incentive for

another entity to acquire it, which would be another perverse result where Hytera once again

obtains a substantial benefit from its theft.

12. Disclaimer

        The parties dispute whether the license should include a disclaimer of any warranties

related to the subject matter of the agreement.

        The disclaimer that Motorola requests is a typical license provision that attempts to ensure

Hytera abides by its obligations under the license, and does not assert that it can fail to comply

with the license based on communications with Motorola.

13. Form of Notices

        13.2: Notice trigger date

        The parties dispute whether the license should specify that the trigger date for notice




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       This provision should be non-controversial, and simply specifies how and to whom notice

should be provided under this license, e.g., under Section 8.2.2.

Motorola’s Appendix A - Definition of Accused Products

       The parties dispute whether the products subject to the court-ordered royalty should be the

same as the products Motorola identified in its briefing on this issue.

       Motorola’s position is in § 1.2, supra.

Hytera’s Appendix A - Affiliate Confidentiality Agreement

       The parties dispute whether Hytera’s Affiliates are only obligated to keep Motorola’s trade

secrets and copyrights confidential if they execute a separate agreement with Hytera.

       As explained above, Hytera intends to provide Motorola’s trade secrets and copyrights to

its Affiliates, but claims it has no ability to control what those affiliates do with those materials

absent a separate agreement with the Affiliates. Hytera also claims that its Affiliates are not subject

to this Court’s jurisdiction, and has provided no explanation as to how its proposed agreement

would be enforceable or provide Motorola any protection. Indeed, under Hytera’s proposal,

Motorola would apparently have to bring a breach of contract action against Hytera’s Affiliates

wherever they are, once again imposing significant burdens on the aggrieved party and imposing

none on Hytera, which has been indicted for the theft in this case. The Court ordered Hytera to

keep Motorola’s trade secrets and copyrights confidential. If Hytera cannot ensure that its

Affiliates will do that, then its Affiliates cannot be permitted access to or use of Motorola’s trade

secrets and copyrights.

Appendix B - Royalty Reporting Form

       The parties dispute the manner in which Hytera should be required to report its sales.

       Although Hytera seeks a reporting schedule similar to the DMR license, Hytera has not

complied with, or paid royalties under, that license for years. Hytera also plainly intends to use



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Chinese law to shield it from complying with the audit provisions (See Hytera’s position in Section

6.2, which states that it will comply with an audit so long as it comports with Chinese law). As a

result, Hytera must be required to provide transparency into its sales in the required quarterly

reporting on a country-by-country basis, including the entity making the sale, the product number,

the type of product, the number of units, whether Hytera believes it owes a royalty for that product,

the identity of the customer, the product brand, and the total royalty. Motorola’s Appendix B will

reduce the disputes between the parties and protect Motorola against Hytera’s non-compliance,

whereas Hytera’s form will not. In addition, technology subject to this compulsory license is much

more extensive and significant in scope as compared to the DMR patent license.

 February 24, 2022                                 KIRKLAND & ELLIS LLP


                                                   /s/    Justin Singh
                                                   Adam Alper (admitted pro hac vice)
                                                   adam.alper@kirkland.com
                                                   Akshay S. Deoras (admitted pro hac vice)
                                                   akshay.deoras@kirkland.com
                                                   Brandon H. Brown (IL Bar No. 266347 CA)
                                                   brandon.brown@kirkland.com
                                                   Barbara Barath (admitted pro hac vice)
                                                   barbara.barath@kirkland.com
                                                   Reza Dokhanchy (admitted pro hac vice)
                                                   reza.dokhanchy@kirkland.com
                                                   KIRKLAND & ELLIS LLP
                                                   555 California Street
                                                   San Francisco, CA 94104
                                                   Telephone: (415) 439-1400
                                                   Facsimile: (415) 439-1500

                                                   Michael W. De Vries (admitted pro hac vice)
                                                   michael.devries@kirkland.com
                                                   Christopher Lawless (admitted pro hac vice)
                                                   christopher.lawless@kirkland.com
                                                   Justin Singh (admitted pro hac vice)
                                                   justin.singh@kirkland.com
                                                   Ali-Reza Boloori (admitted pro hac vice)
                                                   ali-reza.boloori@kirkland.com
                                                   Benjamin A. Herbert (admitted pro hac vice)
                                                   benjamin.herbert@kirkland.com
                                                   KIRKLAND & ELLIS LLP
                                                   555 South Flower Street
                                                   Los Angeles, CA 90071



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                                         Telephone: (213) 680-8400
                                         Facsimile: (213) 680-8500

                                         David Rokach (IL SBN: 6279703)
                                         david.rokach@kirkland.com
                                         KIRKLAND & ELLIS LLP
                                         300 North LaSalle
                                         Chicago, IL 60654
                                         Telephone: (312) 862-2000
                                         Facsimile: (312) 862-2200

                                         Leslie M. Schmidt (admitted pro hac vice)
                                         leslie.schmidt@kirkland.com
                                         KIRKLAND & ELLIS LLP
                                         601 Lexington Avenue
                                         New York, NY 10022
                                         Telephone: (212) 446-4800
                                         Facsimile: (212) 446-4900

                                         Attorneys for Plaintiffs
                                         Motorola Solutions, Inc. and Motorola
                                         Solutions Malaysia SDN. BHD..




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                                CERTIFICATE OF SERVICE

       I, Justin Singh, an attorney, hereby certify that on February 24th, 2022, I caused a true and

correct copy of the foregoing document to be served via the Court’s ECF system upon all counsel

of record.


 DATED: February 24, 2022                         /s/ Justin Singh
                                                  Justin Singh




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